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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7     OLANREWAJU SURAJU, et al.,                        Case No. 22-mc-80072-SK
                                   8                    Movants,
                                                                                           ORDER SETTING BRIEFING
                                   9             v.                                        SCHEDULE AND REQUIRING
                                                                                           SERVICE
                                  10     YAHOO!, INC., et al.,
                                  11                    Respondents.                       Regarding Docket No. 1
                                  12          In this miscellaneous matter, Movants Olanrewaju Suraju and The Human and
Northern District of California
 United States District Court




                                  13   Environmental Development Agenda (“Movants”) seek an order pursuant to 28 U.S.C. § 1782
                                  14   requiring Respondents Yahoo! Inc. and JP Morgan Chase (“Respondents”) to respond to discovery
                                  15   requests related to a civil defamation proceeding in Nigeria. (Dkt. 1.)
                                  16          Having reviewed Movants’ application for discovery, the Court HEREBY ORDERS that
                                  17   Movants shall serve a copies of the application, supporting documents, and this Order on
                                  18   Respondents no later than May 25, 2022. Respondents shall file any opposition no later than June
                                  19   8, 2022. Movants may file any reply no later than June 15, 2022. The Court will decide the
                                  20   application on the papers without oral argument.
                                  21          IT IS SO ORDERED.
                                  22   Dated: May 11, 2022
                                  23                                                   ______________________________________
                                                                                       SALLIE KIM
                                  24                                                   United States Magistrate Judge
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